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luly 16, 2018
To whom it may concern:

Michael Scronic was referred to me in November 2017. Our first session together
was on November 15, 2017. Michael reported that he had been arrested by the FBI
on charges of securities fraud. He reported that his wife had filed for divorce and
further indicated that he and his wife are parents of a six year old son. He appeared
in a very presentable manner, well groomed and oriented X3 (person, place, time).
The client did appear somewhat anxious as evidenced by his hyperactive manner of
speaking. My office is in CT. Michael resides in NYC. Since the beginning of this year,
Michael has been making a consistent effort about attending regular weekly
sessions with me.

Michael has been cooperative throughout our sessions. While he does speak in a
rapid manner, he has not displayed any signs of mania or dissociation.

The initial diagnosis was generalized anxiety disorder [F41.1]. He was assessed for
suicide ideation. The client has consistently denied any suicide ideation, homicide
ideation and psychosis. 0ver time and upon further analysis it was revealed that the
client struggled with a gambling disorder (F63.0). Indeed, prior to our first session
together the client had been attending meetings of Gamblers Anonymous; he is
working with a sponsor.

The client has expressed remorse about what he had done and the impact it has had
on his investors, family and friends. He indicated that while he had been engaged in
his role as money manager, he operated under the belief that he would end up
recovering the losses and "it would all work out”_ The client has subsequently
referred to this thinking as faulty and delusional. Michael reported that since an
early age, he always felt compelled to achieve and perform at a very high level.

Throughout our time together, the client has consistently denied experiencing
depression. He did, however, acknowledge experiencing a significant bout of
depression about 12 years ago after a considerable trading loss while employed at
an investment bank. He was hospitalized at that time. Michael admitted that he did
experience suicide ideation during that time “but not since that time”. He reports
that he has been active. He has embraced exercise, running almost daily as he
prepares for a long distance race. He has been working as a tutor. He reported that
he has been attending church. He has expressed a genuine affinity and enthusiasm
for teaching He is hopeful and optimistic about developing a new career in the
teaching profession.

 

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Treatment has included a combination of insight-oriented analysis (which includes
assessing family history), CBT to challenge faulty thinking and humanistic/ person
centered counseling. On March 16, 2018, this counselor recommended to the client
that he contact the psychiatrist he worked with at the hospital last fall and schedule
an appointment for an updated evaluation. The client reports that he is taking no
medications at this time.

Since our initial meetings together, Michael has been more engaged, and continues
to express remorse for his past behaviors. The treatment plan/ goals of treatment
include helping the individual to identify faulty beliefs, the origin of perfectionist
thinking and compulsions. Also, to help the client build healthy coping skills and
resilience as he faces adversities and challenges in the future. Treatment plan also
includes active participation by the client. The client will continue to meet with this
counselor and a new NYC based counselor multiple times per month. The client will
also continue to attend Gamblers Anonymous meetings. Michael has also attended
Refuge Recovery meetings and will make an effort to continue attendance

The client has expressed a strong desire to resolve damaged relationships He has
stated that this whole tragedy has brought him closer to his parents and sister. He
has consistently stated that he loves his son M] dearly and wants to be a model of
example for his son.

Sincerely,

    

Iames I. Hodel, LPC

 

